   Case: 1:08-cr-00846 Document #: 459 Filed: 07/27/18 Page 1 of 2 PageID #:8656



                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA

               Plaintiff,

              v.
                                             No. 08 CR 846
 JON BURGE
                                             Judge Joan Humphrey Lefkow
               Defendant,

              v.

 TONY ANDERSON

               Intervenor.


                   MOTION FOR ENTRY OF AGREED
              PROTECTIVE ORDER GOVERNING DISCOVERY

      The United States of America, by JOHN R. LAUSCH, JR., United States

Attorney for the Northern District of Illinois, moves for the entry of an agreed

protective order, and in support thereof states as follows:

      1.     On July 18, 2018, Tony Anderson moved to intervene in the above-

captioned matter for the purpose of obtaining the release of pages 16 through 28 of

Michael McDermott’s September 25, 2008 grand jury testimony.

      2.     On July 25, 2018, over the government’s objection, this Court granted

the motion to intervene and ordered the government to produce pages 16 through 28

of Michael McDermott’s September 25, 2008 grand jury testimony.
   Case: 1:08-cr-00846 Document #: 459 Filed: 07/27/18 Page 2 of 2 PageID #:8657



      3.     The grand jury testimony the government had been ordered to disclose

includes sensitive information, typically protected by Federal Rule of Criminal

Procedure 6(e). Consistent with the Court’s prior orders (see, e.g., R. 439), the

government therefore seeks a protective order that limits the disclosure of the grand

jury testimony.

      4.     The government has discussed the proposed protective order with

counsel for the intervenor, who agrees to the entry of the proposed order.

      WHEREFORE, the government respectfully moves this Court to enter the

proposed protective order.

                                       Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

                                 By:   /s/ Andrianna D. Kastanek
                                       ANDRIANNA D. KASTANEK
                                       Assistant U.S. Attorney
                                       219 South Dearborn St., Rm. 500
                                       Chicago, Illinois 60604
                                       (312) 886-0974

Dated: July 27, 2018




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